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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW PERRONG on behalf of
himself and others similarly situated,

           Plaintiff,                                 Case No. 2: 18-cv-03213-JHS

v.

TEXPO POWER, LP d/b/a YEP
ENERGY

           Defendant.

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                             ORDER GOVERNING DISCOVERY OF
                          ELECTRONICALLY STORED INFORMATION

       The parties having jointly requested the entry of an Order governing Discovery of

Electronically Stored Information ("ESI"), and for good cause shown, it is hereby ORDERED as

follows:

A.     ESI Production.

       Electronic data produced by either of the parties should be provided in the following
       format:

       1.         PDFs. Searchable PDFs with page breaks at document end.

       2.         Color. The parties will accommodate reasonable requests for production of
                  specific images in color, as PDFs. However, for any document that will lose
                  meaning or will be illegible if produced in black and white, parties agree to
                  produce those documents in color. ESI produced in color will be produced in .pdf
                  format.

       3.         Unique IDs. Each image should have a unique file name which will be the Bates
                  number of that page (e.g. ABCOOOOOOl) or range of the documents produced (e.g.
                  ABCOOOOOO 1-10).

       4.         Native Format. The parties have agreed that the following documents will be
                  produced in native format: Excel spreadsheets, Access databases, any records
                  reflecting outbound telemarketing calls, any records reflecting inbound telephone
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           calls, any records reflecting inbound telemarketing calls, any records reflecting
           phone number registration and purchase, any records reflecting research into
           phone numbers, phone calls and potential defendants, and any records reflecting
           the purchase of computers, phones or any other technology used to monitor and
           track incoming calls.

            The parties reserve their rights to seek additional electronic documents in their
            native format. Producing documents in native format does not excuse either party
            from producing extracted text and metadata for that file. Producing documents in
            native format does not constitute a concession that extracted text or metadata is
            available or must be produced.

     5.     Non-Convertible Files: Certain types of files such as system, program, video and
            sound files may not be amenable to conversion into anything meaningful in PDF
            format. Responsive, non-convertible files will be produced in the form of a
            placeholder PDF image. Some examples of file types that may not convert
            include file types with the following extensions: *.exp, *.ilk, *.res, *.trg, *.tlh,
            *.idb, *.pdb, *.pch, *.opt, *.lib, *.cab, *.mov, *.mp3, *.swf, *.psp, *.chi, *.chm,
            * .com, *.dll , * .exe, * .hld , * .1v1,
                                                . . *.1vt, . * .ms1,. *.n1s, *.ob"~. *.ocx, *.rm1,
                                                      . *.IX,                                    . *.sys,
            *.tmp, *.tff, *.vbx, *.wav, *.wpg, *.iso, *.pdb, *.eps, *.mpeg, *.mpg, *.ram, *.rm,
            *.psd, *.a1,
                      . *.ai'f, *•b'm, *.hqx, *.snd, *.mpe, *.wmv, *.wma, and *.x1u.       l',;I




            Other files may not be able to be converted to PDF due to password protection or
            corruption (for example). If reasonable efforts to obtain useful PDF images of these
            files are unsuccessful, these non-convertible files will also be accounted for with a
            PDF placeholder.

     6.     Search Terms/Date Ranges. In an attempt to minimize e-discovery costs and
            disputes, the parties agree that search terms may be used to identify documents in
            the event that production of all correspondence responsive to a request would be
            unduly burdensome.

     7.     Parent-Child Relationships. Parent-child relationships (the association between
            an attachment and its parent document) must be preserved.

     8.     Search Terms/Date Ranges. In an attempt to minimize e-discovery costs and
            disputes, the parties agree that search terms may be used to identify documents.

B.   Miscellaneous Production Items.

     1.     Production Media. Documents will be produced on CD-ROM or DVD disks, on
            portable hard drives, or via secure file transfer protocol (SFTP).

C.   Right to Request Additional Information.

     The agreements set forth herein are without prejudice to the right of a requesting party to
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                      request additional information about specific ESI if that party can demonstrate that
                      material, relevant, and responsive information that is not otherwise cumulative of
                      information already produced can only be found through such additional efforts. The
                      parties will negotiate in good faith with regard to whether such additional efforts are
                      reasonably required and, if so, who should bear the cost, with the Court to resolve such
                      disputes in accordance with its standing order and the local rules if agreement cannot be
                      reached.

                 D.   Inadvertent Production of Documents.

                      Inadvertent production of any document produced in response to discovery requests in
                      this action by any party or non-party, that a party or non-party later claims should have
                      been withheld on grounds of a privilege, including the work product doctrine, FRE 408
                      and/or any other privilege or basis for confidentiality, will not be deemed a waiver in this
                      case or in any other federal or state proceeding. This shall be interpreted to provide the
                      maximum protection allowed by Federal Rule of Evidence 502( d). Nothing contained
                      herein is intended to or shall serve to limit a party's right to conduct a review of
                      documents, ESI or information (including metadata) for relevance, responsiveness and/or
                      segregation of privileged and/or protected information before production. Electronic
                      documents that contain privileged information, attorney work product or privileged
                      material otherwise covered by this paragraph shall be immediately returned if the
                      documents appear on their face to have been inadvertently produced or if there is notice
                      of the inadvertent production.

                 E.   Modifications To ESI Protocol

                      The parties agree that any of the terms and requirements herein can be modified by
                      agreement between the parties reduced to writing.

                 F.   Retention

                      The parties shall separately negotiate an agreement that outlines the steps each party
                      shall take to segregate and preserve the integrity of all relevant electronic
                      documents. The designated retention coordinators shall: (a) take steps to ensure that
                      e-mail of identified custodians shall not be permanently deleted in the ordinary
                      course of business and that electronic documents maintained by the individual
                      custodians shall not be altered; and (b) provide notice as t9 the criteria used for spam
                      and/or virus filtering of e-mails and attachments; documents filtered out by such
                      systems shall be deemed nonresponsive so long as the criteria underlying the
                      filtering are reasonable.


                      SO ORDERED, this 2.      c./l'i day of 6c;do 6e.r      , 2018.
